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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 22-MJ-8332-BER


IN RE SEALED SEARCH WARRANT                             FILED UNDER SEAL

_____________ /

                                                                                   AUG 11 2022
                                       ORDER TO SEAL                              ANGELA E, NOSLE
                                                                                 CLERK US DIST. CT.
        The United States of America, having applied to this Court   f'rf'T"-"'""'H·¥1
                                                                                    ° £ F Fi.:1.   ' w.P


Notice of Filing of Redacted Documents, and the Court finding good cause:

        IT IS HEREBY ORDERED that the Notice of Filing of Redacted Documents , the two

accompanying attachments to that Notice, the Motion to Seal, and this Order shall be filed

under seal until further order of this Court.

        IT IS FURTHER ORDERED that notwithstanding this sealed Order, the United States

may provide copies of the Notice of Filing of Redacted Documents and its accompanying

attachments to counsel for former President Donald J. Trump.                                         ,fi
        DONE AND ORDERED in chambers at Palm Beach County, Florida, this J.L:"day

of August, 2022 .




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                                                UNITED STATES GISTRATEJUDGE
                                                SOUTHERN DISTRICT OF FLORIDA


Deliver copy to:
                                                  WJWAM MATTHEWMAN
